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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF INDIANA
                             SOUTH BEND DIVISION

 JANE DOE,                                     )
                                               )
               Plaintiff,                      )
                                               ) Case No. 3:17-cv-00690-PPS-MGG
        v.                                     )
                                               )
 UNIVERSITY OF NOTRE DAME,                     )
                                               )
               Defendant.                      )



                    DEFENDANT UNIVERSITY OF NOTRE DAME’S
                      CORPORATE DISCLOSURE STATEMENT


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant University of

Notre Dame (“Notre Dame”) hereby submits its Corporate Disclosure Statement, stating:

   1. Notre Dame is a non-governmental corporate party.

   2. Notre Dame does not have a parent corporation, and no publicly held corporation owns

       10% or more of Notre Dame’s stock.

   3. Notre Dame is an Indiana nonprofit corporation with its principal place of business in Notre

       Dame, Indiana.

   4. Notre Dame is organized exclusively for charitable, religious, educational, and scientific

       purposes within the meaning of 501(c)(3) of the Internal Revenue Code.



Dated: October 26, 2017                             Respectfully submitted,
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                                         /s/ Matthew Kennison

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2017, I electronically filed a copy of the foregoing in

the United States District Court for the Northern District of Indiana using the CM/ECF system,

which will send a notice of electronic filing to the following CM/ECF-registered counsel of record:

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Parties may access this filing through the Court’s system.

                                                             /s/ Matthew Kennison




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